

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-38,996-11






RICHARD MASON KING, JR., Relator


v.


LAMAR COUNTY DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. 16606 IN THE 6th JUDICIAL DISTRICT COURT

FROM LAMAR COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he contends that he mailed an application for a writ of habeas corpus
to the 6th Judicial District Court of Lamar County, but that the district clerk has not accepted the
application for filing.  More than 35 days have elapsed, and the application has not yet been
forwarded to this Court.  

	 In these circumstances, additional facts are needed.  The respondent, the District Clerk of 
Lamar County, is ordered to file a response, which may be made by: submitting the record on such
habeas corpus application; submitting a copy of a timely filed order which designates issues to be
investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); or stating that
Relator has not filed an application for habeas corpus in Lamar County.  Should the response include
an order designating issues, proof of the date the district attorney's office was served with the habeas
application shall also be submitted with the response.  This application for leave to file a writ of
mandamus shall be held in abeyance until the respondent has submitted the appropriate response. 
Such response shall be submitted within 30 days of the date of this order.



Filed: June 15, 2011

Do not publish	


